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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 KIRA (US) INC.,
                     Plaintiff,
                                                      Civil Action No. 1:23-cv-919 (MSN/WEF)
       v.

 KEENAN SAMMAN and DEEPJUDGE AG,
            Defendants.


                                             ORDER

        This matter comes before the Court on the parties’ Joint Proposed Discovery Schedule. (Dkt.

No. 32). Upon consideration of the parties’ proposed schedule, it is hereby

        ORDERED that the proposed discovery plan and the deadlines for briefing on the

preliminary injunction motion (Dkt. No. 32) are approved and ADOPTED by the Court; it is further

        ORDERED that the Court will hold a preliminary injunction hearing on August 25, 2023,

at 10:00 a.m.; and it is further

        ORDERED that the Court’s July 21, 2023 Order granting Kira’s Motion for Temporary

Restraining Order shall be extended and remain in effect for good cause shown until further order

of this Court.

        It is SO ORDERED.
                                                                          /s/
                                                    Hon. Michael S. Nachmanoff
                                                    United States District Judge

Alexandria, Virginia
July 25, 2023




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